Family Letters

Ondria McGowan, Sister
Andrew Jordan, Brother
Austin Jordan, Brother
Dylan Jordan, Brother

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 1 of 17 PagelD #: 683
To the Honorable Judge Campbell,

On behalf of my little brother Caleb Jordan, I want to say a few words regarding growing
up with him. My name is Ondria Mcgowan and | lived with Caleb until I graduated high school.

Caleb was the typical little brother; the baby of the family and always wanted to be the
center of attention. He loved making everyone laugh and just had a genuine love for people. It
was hard for him to find people he could connect with on a personal level because he was a little
different and people often shied away from him because they didn't know how to be his friend or
just didn't want to. At the end of the day, Caleb still tried and he was good to everyone he came
in contact with. Caleb was such a light in every room he entered and could easily put a smile on
anyone’s face. He didn't see himself as different and he accepted everyone.

Our church always wanted Caleb to be involved in all activities. He was a greeter at
church and was the first face people saw when they came in the doors and they loved seeing him.
He was a great team leader and just loved interacting with people and putting on a show.

I hope you could see him the way I see him. He is my blood brother and I’1l always love
him with all my heart. We will always have each other till our last breath.

Thank you for taking time out of your day to read what I have to say about my brother.

Sincerely,

Ondria Mcgowan

Onidvea Wulypp

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23 Page 2 of 17 PagelD #: 684
Monday, June 19, 2023 at 11:21:18 Central Daylight Time

Subject: Fwd: Caleb 6/19/23

Date: Monday, June 19, 2023 at 11:17:05 AM Central Daylight Time
From: Home Email

To: Kathleen Morris, Jodie Bell

Letter from Andrew
Pam
Begin forwarded message: °.

From: Andrew Jordan {aaperecraeaeeern >
Date: June 19, 2023 at 10:13:31 AM CDT

To: Pam Jordan SireneRiresceyeneeeesa>

Subject: Caleb 6/19/23
To whom it may concern,

My name is Andrew Jordan | am an older brother to Caleb Jordan. | don’t fully remember when Caleb was adopted,
but | do remember him as a baby and a toddler and through the years of visiting my dad and my stepmother to see
them time to time in Nashville on those trips. It was clear to me the older he got that he did have a developmental
issue that affected him with his social abilities. What | gathered he was unfortunately bullied in middle and and high
school, | do not know if this has played any factors in his development. | know my parents tried their best to give him
what they were able too. | never witnessed any type of violence from him over the years. | don’t know much about
his case or his possible sentencing but | hope the court will consider his disabilities as to be in a safe environment
with treatment.

Thank You,
Andrew

Page 1 of 1

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 3 of 17 PagelD #: 685
aera y -

SCs ce ee

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23 Page 4 of 17 PagelD #: 686
Wednesday, June 21, 2023 at 11:29:54 Central Daylight Time

Subject: Fwd: Caleb

Date: Wednesday, June 21, 2023 at 10:11:03 AM Central Daylight Time
From: Home Email

To: Kathleen Morris, Jodie Bell

From his brother Austin
Pam

Begin forwarded message:

From: Austin Mortison <ageeieinOiSSoreaeie@emhcokn>
Date: June 20, 2023 at 10:15:31 PM CDT

To: }eeeeHepaerss

Subject: Caleb

1am Austin Jordan Caleb Jordan’s older brother.| am writing this letter so you can kind of see Caleb through my eyes.
Growing up Caleb just always seemed outta place and look a the world upside down.

He was a happy little boy growing up,we are a happy loving family.When he started into his teenage years he didn’t fit
in at all was kind of a outcast.Caleb was very awkward in most situations.anything he finds interest in he get fixated
on, obsessed.He is very smart but in some ways he just doesn’t get it.

This situation has Devastated our family as I’m sure you could imagine.This has ruined my dads and stepmothers life
forever as well as victims I’m sure..

It breaks our hearts that this has happened

We pray that you have it in your heart to help Caleb with a special treatment so he can get better and healthy
minded...

The last thing we want is him to get worse

We hope that he will have a chance to better himself.

Thank you.

Sent from my iPhone

Page 1 of 1

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 5of17 PagelD #: 687
Wednesday, July 5, 2023 at 15:25:22 Central Daylight Time

Subject: Fwd: Caleb’s attorney

Date: Thursday, June 29, 2023 at 9:07:54 AM Central Daylight Time
From: Kathleen Morris

To: Jodie Bell

Dylan's email of support, below.

saceneees Forwarded message ---------

From: DirtySouthGoons <dylana 11 Np >

Date: Wed, Jun 28, 2023 at 7:56 PM
Subject: Caleb’s attorney
To: <Morris@kmorris.net>

| may not have always been around but the time I’ve spent around Caleb he was always different than his age group.
it’s very obvious I’m sure anyone could tell probably even now. He would fixate on things like magic or police cars or
movies and just seemed to be off. In hindsight he was just never normal.

| hope this is helpful
Thank You and have a blessed day

Kathleen G. Morris
Attorney at Law

PRsoerzaess+
Nashville, TN Ser
615-48

Case 3:20-cr-00165 Document109-1 Filed 07/31/23 Page 6 of 17 PagelD #: 68age 1 of 1
Case 3:20-cr-00165

Document 109-1

Filed 07/31/23

wD hee

Page 7 of 17 PagelD #: 689
Additional Character Letters
Rucker Chunn, Pastor

Lisa Simmons, Former Neighbor
E.D. Hines, Family Friend

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23 Page 8 of 17 PagelD #: 690
Rucker Chunn

asedteny, TN nati
Cell PH 615-00@ayggs

e-mail

Kathleen G. Morris
Attorney at Law

PO Box 128091
Nashville, TN 37212

06/21/2023

RE: Character of Caleb Jordan
Current- #231072 Grayson Co. Detention Ctr. Leitchfield KY 42754

To Whom It May Concern:

| have been associated with Caleb Jordan and his parents Pam & Curtis Jordan
for approximately 6 years. During that time most of my association has been with
Pam and Curtis, however, occasionally Caleb did attend my bible study class with
his parents. As teenager then, Caleb always impressed me with his questions and
research regarding the Bible and Christian life. While | am well aware of his arrest,
and many circumstances of his case, | believe Caleb has a good heart; and while
certainly he has reportedly had some serious indiscretions, | think he is basically a
good person.

During Caleb’s incarceration awaiting trial, and currently, we have maintained a
relationship by correspondence in the mail for approximately 3 years. Most of his
conversations were regarding spiritual questions he has (or had) regarding specific
actions, people and doctrines in the Bible. He has discussed some matters of his
incarceration; sadness being separated from his family; remorse that he failed to
adhere to character building attributes his parents tried to teach him. He also related
various difficulties of dealing with life in confinement and restriction. Additionally, he
is a huge fan of Marvel Movies and characters; and a lover of Christian music.

Many of the things about Caleb are quite common in teenagers growing up. In
my opinion, the difficulty comes from what appears to be an extremely intelligent and
overly inquisitive mind that did not have the same measure of wisdom and restraint
to accompany his inquisitions. During the past 3 years communicating with Caleb by
letter, | believe he has matured a great deal and has accepted more responsibility
for his past actions that were detrimental. With the proper direction and guidance |
believe Caleb can be a responsible and good moral citizen of firm Christian
character, having repented of his sins and failures of the past. | sincerely believe he
can be directed in a path that will create in him a leader of others and an example to
follow. It is sad that he got misdirected somewhere earlier in his life which resulted
in his ultimate situation.

PAGE 1 of 2

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 9of17 PagelD #: 691
Nigh eos
. BAYS ve) a vet
eee
Sed SRP TPS ee

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23. Page 10 of 17 PagelD #: 692
As a Christian, | truly believe in the changed life that occurs when one commits
his or her life to Christ. The scriptures note: 2Co 5:17 Therefore if any man be in
Christ, he is a new creature: old things are passed away; behold, all things are become
new. This certainly has been the case in many good people of whom | am aware and
have observed through the years. Having held many church services for prisoners
at the main prison in Nashville TN in my early ministry, | have seen men of strong
moral character leave the prison and contribute greatly to the church and the
community at large. With the proper help, | have confidence Caleb can be one of
those individuals. Certainly, his parents have been, and continue to be, exemplary in
their walk with Christ, from my perspective.

As the Seniors Ministry Pastor of the Jordans in our church since early 2020, and
having been associated with them prior to that as well, | feel Caleb is blessed with a
strong family unit that will support his maturing into a respectable adult as they have
opportunity. One might feel that Caleb shouldn’t have gone astray considering the
good foundational family he has. However, | have seen many church pastor’s
children take terrible wrong turns early in their life; only to repent from wrongdoing
and become outstanding leaders in the church.

In summary, | believe Caleb Jordan is definitely on the road to reforming into a
responsible person of moral character provided he has a proper support group to
lead him in the correct path. His future is dependent on receiving proper care and
direction that | hope can be provided to him. He has a good foundational character
in spite of his missteps. Please contact me if | can be of any influence or assistance
to help Caleb succeed in this mission.

Sincerely,

Cpt lr

Rucker Chunn
Senior's Ministry Pastor
Mt. Juliet Church of God, Mt Juliet TN

PAGE 2 of 2 Character of Caleb Jordan

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 11 of 17 PagelD #: 693
iy Gmail Lisa Simmons <iksimmons22@gmail.com>

Character letter for Caleb Jordan 6/23/23

1 message

Lisa Simmons «EE? @gmail.com> Fri, Jun 23, 2023 at 5:35 PM
To: Lisa Simmons «einenamme®2@gmail.com>

Barry and Lisa Simmons
Farmer next door neighbors of the Jordan family

PERE Gete Ries
Mt. Juliet, TN Samay

To Whom it May Concem:

My husband Barry has lived at the address above since 1983, and | moved to this address in 1993, which is where

we still reside. Caleb and his family were our next door neighbors from approximately 2011 until 2020. We met and got
to know Caleb through our beloved dogs (Dolce and Gretchen) who became fast friends when the Jordan family moved
in. The instances below are listed from earliest ta the most recent, to the best of my memory.

My husband and I grew to have a soft spot for Caleb. He was a bit shy and awkward, but really kind and excited to talk
once he got to know you. We understood that Caleb had a disability of some sort due to his effect when speaking. That
was endearing to me, as my mother had a Master's in Special Education and taught in Metro Nashville schools for many
years. Caleb told us how he had always wanted a German Shepherd, because K9 Officers have German Shepherds,
and that’s what he wanted to be when he grew up. Also, he named her Gretchen because that’s a German name for a
German dog.

At some point, Caleb teamed that Barry and | lost our oldest son B.J. in a motorcycle accident. That next Mother's Day
when I pulled into my driveway, there was a handmade sign in the front yard from Caleb wishing me a happy Mother's
Day. As you can imagine, that meant the wortd to me and my husband. We kept this sign for years, but unfortunately, we
no fonger have it or any pictures to provide for support.

Caleb noticed that Barry and I had a collection of cans behind cur shed. He offered to get rid of them for us if we allowed
him to keep the money he received for them. We were more than happy with that offer. | suppose Caleb was concerned
with the amount of beer cans he found in the collection, so he wrote us a letter and placed it in our mail box. A copy of
this letter is provided.

One summer, Caleb watched cur dog Dolce for a week while we were out of town. With his father's help, ne did a great
job and we trusted him completely.

In summary, we very much care for Caleb. Our relationship with him was always kind, and many times funny. We are
heartbroken that Caleb has become a defendant in a very serious case, however, we only know Caleb as a sweet, kind
hearted, respectful young man.

Thank you for taking the time to learn a litte bit more about Caleb. | hope this helps in some way for all concerned. We
are available to confirm the facts in this letter by phone or email.

Kyas. €, imnvayo-

Lisa K. Simmons

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23. Page 12 of 17 PagelD #: 694
Case 3:20-cr-00165

Document 109-1

Filed 07/31/23

Page 13 of 17 PagelID #: 695
MY Say ote tise Wayy | Fo PLL AaB of HM Higuss WH 38 AN

40M big w Y
dws (Lor
WAI uo amen Usa gua) yoo, + sO0g yt uses UM TCU
uy lise séx P suaeonn tu K5JOS wor wy Sit oe ck Gino
2 Ie . VND Car
wae wre ede aldead ajay Revasiy SSAA oR $1 Mop] SIML of
DISAY Ooyy Cae Say ga woo Ty! et wr fo AND V Woy
Bete ya Gp IN teat ty and mk Load fo UY “PPK
. S (VG asinpo Tt on so
Saul 1 > WD
MH Ru $2 auew sy S44 Meuy Teg | SMD asm do Ire Boh CN awe

Lieve alee 4! Mod oF PARYIM TAN
BHU Sem t. Ge Hak WH SoxIV ANG
AREA pages A CW SUID 1aaq othy
Mee jal Aotw>Zwot } of aw cakuasrd WOR evsesur Mg CN
aq oh Ase UMoR YS SING 2H

<GUISLIVQW GIWIE | ok gues RUB sgnd BES T HRINASIA
AOA AA RUM (ZSMY SIA, 30 6439S mg ow tio 4 aay aald 5
WOT WobN PUY Uua4Sed mh JOq rognja se dwyES ou Y4LM cut ay!

oe WY T
wasWeeeL apouv Puelas mouy £ ur A

ULE SiWEJoLay | = oW WW~S sSvald BU MPY dF ILouf ayf sod a2! 4
Awan snr ane amma lb WaUe Frau Ry CyrevAd dof SHUV4E Plo alle

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 14 of 17 PagelD #: 696
Se Epa Yow ARE TH é TaDgé..tH 7 (2 Thysts, THe

(56.0F. Cale B® Don Daw tHe L.fdavke becouse» SES...

bottt the Dealbew Lenity Avo weet te Clagett

I. Te gj ETHER. Cale PB wwenT Cis bras, fiat? C Atyflieng. oe
fle LWIA S AVE AS Bhaw P Ca te. Are. Lied Abebed

|Z Oe weT to/K at Bowl that. He DDL Davote ~
Keow, bal Leer telk Af oat tHe pw ustte .
AWTaieks Cale 8, foe He is thé owl wHo Tak
CUE Tx THE Gt0Dé04, Me isthéow0Ee voile Thiel
te Thre KK JE s AS. Dae Mat tH bas Ce oS. et pale laeK

Aue fen Cones to se l, Kob aw om Kell, Lue i fen.

Gm é Tithe thls wereld bteouse of Pride te Desay.
;
ae Kind, Bbébsusk We. the People AN. Male Lv

it I44. Lamas a gue) Lj KenwEs § ol. Je Hovalt , Cale (3. ee

eo i View Lisdew te Tt He. Witeus beep le tl Le y WI Re
hoe ti ey Fok ZL nei fer, LDL. tan Rb mien BAR Set Dud

with It~An Ax OD Talkies Abowt CoV) acl s HARiacd

PLasyes. lIH AP it now ID Re Lui Kere [eavew,
J Have L paty THot Seta will use wAal ven.

be Hes do stp!) Re B anv? KK, |] 1 his Ht more Salad iS thy.ag

4 Dest dor) tHA Fam ily af the Ton Darts WD. Cle 8 Foo...
Fe? Las. 4plan. Fea lips [tere othe CAgtth _

Case 3:20-cr-00165 Document109-1 Filed 07/31/23. Page 15 of 17 PagelD #: 697
i i /eB stu Py tHe EFattewer bus DPD t0.2 He tones
Aéttex tome Av DP Rae kK pe O Mey Akh Alay A
bout the Lathes woeD, Dé WERE Oring a7

\tHe CHuac i teoptkly AwO Liz H sus Evky VAR
larth the keya/ Kewgtks AT Li Pre pesto bla,
Gare H+. bee HaP a Ghtal. hinibée [cu ly kewe» fer
7 Ae G20 V Whine, 5s. JusT LiKE Teas Fok G9 he t iis Aman s
lOF C42 Siux av the Closs, T uw fer Givd. “14 /eb
WOF Mis Stes AvD jasT Asveé 1m 25 Jésas Aoved

|| &< 5. fou HAVE FHE hig Ht Tu De Pas bd LP F< hor

H Caleb Abe tf Eon 10004 YEARS. La D LI Have THE Kis Jey
ipo dsK you fo Be LititeeT avd Have MELE YO.)
bry Buatlter Sa CHnjsT. £ toon 1D Like te see
ele Meme Loa Ceistmas sometiag Scoa,

tt

Your Dot HER Fa’ CHest—
oo U4IG é List b, Dy Fié~ tHeeclhickKey

PELE

pe ei le B Spader fw D Hé fe > lve 1220.

NASHVILLE TN 370

epee Sy

Case 3:20-cr-00165 Document 109-1 Filed 07/31/23. Page 16 of 17 PagelD #: 698
Case 3:20-cr-00165 Document 109-1 Filed 07/31/23. Page 17 of 17 PagelD #: 699
